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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
JACKSONVILLE DIVISON
DR. JUSTIN BATEH,
Plaintiff,
vs. CASE NO.:

GEORGE H. G. HALL and
HERONVIEW OWNER’S ASSOCIATION, INC.,

Defendants.
/

COMPLAINT AND DEMAND FOR JURY TRIAL
COMES NOW, Plaintiff, DR. JUSTIN BATEH, by and through undersigned counsel,
hereby sues the Defendants GEORGE H. G. HALL (“HALL”) and HERONVIEW OWNER’S

ASSOCIATION, INC. (“HERONVIEW”), and in support thereof respectfully, alleges the

following:

l. Plaintiff alleges violations of the Federal Debt Collection Practices Act, 15 U.S.C. §1692
et seq. (“FDCPA”) and the Florida Consurner Collection Practices Act, Fla. Stat. §
559.55 et seq. (“FCCPA”).

JURISDICTION AND VENUE

2. This Court has jurisdiction over the Plaintiff’s claims pursuant to 15 U.S.C. § l692k.

3. Further, subject matter jurisdiction,' federal question jurisdiction, and venue for purposes
of this action is appropriate and conferred by 28 U.S.C. § 1331, which provides that the
district courts shall have original jurisdiction of all civil actions arising under the
Constitution, laws, or treaties of the United States.

4. The state claims under the FCCPA are conferred supplemental jurisdiction pursuant to 28

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U.S. Code § l367(a), as they arose from the same actions by Defendants in this case and
are related to Plaintiff’s FDCPA claims.
Venue is proper in this District because the Plaintiff resides in this District (Duval
County), the phone calls were received in this District and the Defendant transacts
business in Duval County, Florida.

FACTUAL ALLEGATIONS
Plaintiff DR. JUSTIN BATEH is a natural person, and citizen of the State of Florida,
residing in Duval County, Florida, and resides in this District.
Plaintiff DR. JUSTIN BATEH is a “consumer” as defined in Fla. Stat. § 559.55(2).
Plaintiff DR. JUSTIN BATEH is an “alleged debtor.”
Defendant, GEORGE H. G. HALL,A is a debt-collecting agent and attorney for Defendant
HERONVIEW, and is a “creditor.” GEORGE H. G. HALL is an attorney in Jacksonville,
FL with a principal office in Jacksonville, Florida. y
Defendant, HERONVIEW is a Homeowner’s Association incorporated under the laws of
Florida with its principal place of business at 5301 Heronview Drive, Jacksonville, FL
32257.
The conduct of Defendant which gives rise to the cause of action herein alleged occurred
in this District, Duval County, Florida, by the Defendant’s improper attempts to collect
on a debt in Duval County, Florida.
Defendants, at all material times, were attempting to collect on horne owners association
(“HOA”) fees from a home that Plaintiff owns, charging improper late fees.
On or about August l, 2018, Plaintiff purchased a foreclosed property located at 5344

Rookery Court, Jacksonville, FL 32257. He did not own or occupy the property prior to

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this date.

Following the purchase, Plaintiff was contacted by Defendant Heronview. Defendant
claimed that Plaintiff owed the back-logged balance of HOA fees for the past four years,
plus interest and late fees. This amount came to approximately $l,688.50.

However, the covenants related to the property do not include late fees. See Exhibit A,
Property Covenants, Article III, Section I. (“The annual and special assessments and
capital contributions, together with interest, costs and reasonable attorneys’ fees, shall be
a charge on the Lot and shall be a continuing lien upon the Lot against which each
assessment . . . is made”).

Florida case law holds that the home owner’s association must follow its declarations
with regard to a foreclosure sale. See Beacon Hz'll Homeowner’s Ass’n v. Col]’in Ah-
Florida 7, LLC, 221 So. 3d 710 (3d DCA, May 24, 2017) (holding that under the
language adopted by the association, the appellee was not liable for any past due
assessments when it purchased the property at the foreclosure sale).

On October 5, 2018, Plaintiff received a letter from Defendant Hall, providing a notice of
intent to “record a Clairn of Lien against the property . . . unless the Association is paid in
full the amounts set forth below.” See Exhibit B, Hall Letter dated 0ct0ber 5, 2018. The
“amounts set forth below” specifically include late fees of $100. Again, these late fees,
unlike the attorney’s fees or interest, were not set out in the property covenants.

When Plaintiff Bateh purchased the Property, he expected that the Defendants follow the
covenants for the Property, regardless of how it was purchased This includes not placing

late fees on an account.

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COUNT I
(Violation of the FCCPA - HERONVIEW)

Plaintiff re-alleges and fully incorporates paragraphs one (l) through eighteen (18) above

as if fully stated herein.

At all times relevant to this action, Defendant Heronview is subject to and must abide by

the law of the State of Florida, including, without limitation, Fla. Stat. § 559.72.

By refusing to stop attempting to collect on an improper debt after being on repeated

notice that this debt could not be collected under Florida law, Defendant violated Fla.

Stat. § 559.72:

a. “Claim, attempt, or threaten to enforce a debt when such person knows that the debt
is not legitimate, or assert the existence of some other legal right when such person
knows that the right does not exist,” Fla. Stat. § 559.72(9); and

b. “[W]illfully engaging in conduct with such frequency as can reasonably be expected
to harass the debtor,” Fla. Stat. § 559.72(7).

There is no basis for Defendant Heronview to continue to demand payment of the late

fees that accrued prior to foreclosure.

Despite its covenants not listing late fees as collectible on assessments, Defendant

continues to attempt to collect an improper debt.

Defendant’s actions have directly and proximately resulted in Plaintist prior and

continuous sustaining of damages as described by Fla. Stat. § 559.77.

As a result of Defendant Heronview’s violations of the FCCPA, Plaintiff is entitled to

actual damages, statutory damages (up to $1000.00), and reasonable attorney’s fees and

costs pursuant to Fla. Stat. § 559.77.

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Additionally, § 559.77 provides a court may award punitive damages as well as equitable

relief to Plaintiff such as enjoining further illegal collection activity.

WHEREFORE, Plaintiff, DR. JUSTIN BATEH, respectfully demands a trial by jury on all

issues so triable and judgment against Defendant, HERONVIEW OWNER’S ASSOCATION,

INC, for statutory damages, punitive damages, actual damages, costs, interest, attorney fees,

enj oinder from tilrther violations of these parts and any other such relief the Court may deem just

and proper.
COUNT II
(Violation of the FDCPA - GEORGE HALL)
27. Plaintiff DR. JUSTIN BATEH incorporates by reference paragraphs one (1) through

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eighteen (18) of this Complaint as though fully stated herein.

The Defendant George H.G. Hall is a debt collector as defined by the Fair Debt
Collection Practices Act (FDCPA). § 15 USC 1692 803(6). The term “debt collector”
means any person who uses any instrumentality of interstate commerce or the mails in
any business the principal purpose of which is the collection of any debts, or who
regularly collects or attempts to collect, directly or indirectly, debts owed or due or
asserted to be owed or due another.

The foregoing acts and omissions of Defendant Hall and his agents constitute numerous
and multiple violations of the FDCPA including, but not limited to 15 U.S.C. §
l692e(2)(A) (The false representation of_the character, amount, or legal status of any
debt); 15 U.S.C. l692e(5) (The threat to take any action that cannot legally be taken or
that is not intended to be taken); and 15 U.S.C. § l692d (Any conduct the natural

consequence of which is to harass, oppress, or abuse any person).

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30. As a result of Defendant Hall's violations of the FDCPA, Plaintiff is entitled to actual
damages pursuant to 15 U.S.C. § 1692k(a)(1); statutory damages in an amount up to
$l,OO0.00 pursuant to 15 U.S.C. § 1692k(a)(2)(A): and_reasonable attorney's fees and
costs pursuant to 15 U.S.C. § l692k(a)(3), from Defendant.

WHEREFORE, Plaintiff DR. JUSTIN BATEH respectfully demands judgment against

Defendant, GEORGE H. G. HALL, for statutory damages, actual damages, treble damages,

punitive damages, costs, fees, interest, and any other such relief the court may deem just and

proper.
TRIAL BY JURY

31. Plaintiff is entitled to and hereby respectfully demands a trial by jury on all issues so
triable.

Dated this 2“d of January, 2019.

MAX HUNTER STORY, P.A.
/s/ Max Storv

Max Story, Esquire

Florida Bar No. 0527238

Austin J. Griffin, Esq.

Florida Bar No. 0117740

328 2ND Avenue North

Jacksonville Beach, Florida 32250

Telephone: (904) 372-4109

Fax: (904) 758-5333

max@storylawgroup.com

austin@storylawgroup.com
Attorneys for Plaintiff

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0 ARTICLE III "

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ASSESSMENTS' AND CAFITAL CONTRIB‘UTIONS
Section 1. Creation of the` Lien; Personal Obligation of Ag_sessmsnts
and Capitsl Contributiqn. The Dsclarsnt, for each Lot owned within the

 

Properties, hereby covenante, and each Owner of any Lot by acceptance of
a deed therefor, whether or not it shall be so expressed in such deed, is
deemed to covenant and agree to pay to then Associationx (l) annual
assessments or charges; (2) charges for .capital contributions; and (3) special
asaessments. Such annual and special esessments and capital contributions
shall be established and collected as hereinafter provided. The annual and
special assessments and capital contributions, together with interest, costs
and reasonable attorneys' fees, shall be a charge on the Lot and shall be
a continuing lien upon the Lot against which each assessment and charge for
capital contribution is made. Each such assessment and charge for capi_tal
contribution, together with interest, costs and reasonable attorneys fees,
shall sls_o be the personal obligation of the party who is the Owner of such
Property at the time when the assessment or_ the charge for capital
contribution falls due. In the event there is more than one Owner of any
given Lot, all ow`ners of such lot shall be jointly and severally liable for
the entire amount of such assessments and charge for'capital contributions
shall not pass to a succesor in title to the Lot unless expressly assumed
by them however, the continuing lien against any portion of the Properties
shall not be extinguished or affected by a conveyance the,rof, unless otherwise
provided herein.

Section 2. Pmose of Annual Assessg§nta and Charge for Capital

Contributiona. The annual assessments levied by the Associetion and charge

for capital contributions shall be used to enable the Association (1) to
provide for improvement and maintenance of the Entrance Area, Lake Areas
and Drainsge Easements as such may be improved from time to` time as provided
for herein, including without limitation removal of debris and/or vegetation,
electrical lighting, signage, irrigation, landscaping, and maintenance and
repair of all of the foregoing; (2) To provide for maintenance and operation
of all stormwater discharge facilitiee, etormwater retention and detention
storage per plans, specifications and performance criteria as approved by
permit from the St. Johne Rivar water Management District. The Aeeociation
shell be responsible for the maintenance, operation and repair of the
stormwater management system(s). Meim:enance of the stormwater management
system(s) shall mean the` exercise of practices which allow the systems to
provide drainage, water storage, conveyance or other stormwater management
capabilities as permitted by the St. Johns River Management Diatict. The
Association shall be responsible for such maintenance and operation. Any
repair or reconstruction of the stormwater management system shall be as
permitted, or if modified as approved by the St. Johns River Water Management
District.‘ (3) To provide for all expenses of operating the Association,
including without limitation, insurance expense, legal and accounting fees,
payroll and general office operating expenses and to pay any and all other

things necessary or desirable in the judgment of, the Board of Directore;

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GEORGE H. G. HALL

ATTORNEY AT LAW
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r.o. sox 14124 FAcsnvuLE= 800/610.3639
JAcKsoNviLLr., FLoRn)A 32238-4124
October 5, 2018
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Via Cei’tified and F` st Class Mail to:
Mr. Jerry Batteh
9072 Cotswold Way

Jacksonville, FL 32257

NOTICE OF INTENT 'I`O RECORD A CLALM OF LIEN
RE: 5344 Rookery Court, Jacksonville, FL 32257 (“Subject Property”)

Dear Mr. Battah:

This office has been retained by the Heronview Owners Association, Inc. (hereinafter
“Association"’) regarding a debt owed to the Association regarding the above referenced Subject
Property. As of the date of this letter, the following amounts are currently due on the property to
the Association and must be paid within 45 days after your receipt of this letter. This lette§ shall
serve gs Associsgiog’s notice of intent to record a Claim pf Lien aga§n_st the propg_'_g ng

sooner than 45 days after your receipt of this letterl unless the Associg t!'on is paid in full ge

amounts set forth below:

 

Assessments due February 28: $ 1,170.00

2015-3290, 2016-$290. 2017-3290, 2018-$300

Late fees of $25 due each year if not 100.00
paid by February 28

Intercst at 18% per year due on unpaid assessments 436.05

Attorney fee 100.00

Total outstanding ‘ §M ,

, * lnterest accrues at the rate of 18% per annum.

In order to avoid the filing of a claim of lien on the Subject Property and possible foreclosure
action and/or money judgment, full payment via cashier’s check or money order must be received`
with forty-five (45) days after receipt of this letter. Please send the total amount due made payable
to Heronview Owners Association Inc. (Mll not accept checks made payable to this office)
within the 45 days to: Heronview Owners Xssociation, Inc., c/o George H. G.Hall, Esq.,4736
Blanding Boulevard, Jacksonville, FL 32210. If you would prefer to enter into a payment plan,

please email me at ghghallesg@yahoo.com to discuss if a payment plan is available and to enter
into a payment plan before the 45 days have passed

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If you recently filed bankruptcy or were discharged from bankruptcy, please contact our office to
inform us of the bankruptcy or discharge and to receive an updated amount due, if any, as this
letter is in no way an attempt to collect a pre-bankruptcy debt or violate the automatic stay. 'l`his
letter is attempt to collect a debt and any illqu obtained will be used for that purpose
Please govern yourself accordingly

Sincerely,

jt 723 /L£/

George H. G. Hall

 

